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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                          x
THOMAS S. SWANSON, Individually and on :             Civil Action No. 1:20-cv-05518-BMC-RER
Behalf of All Others Similarly Situated,  :
                                          :          CLASS ACTION
                              Plaintiff,  :
                                          :         JOINT STIPULATION AND
       vs.                                :         XXXXXXXX
                                                    [PROPOSED] ORDER MODIFYING THE
                                          :         BRIEFING SCHEDULE FOR PLAINTIFF’S
INTERFACE, INC., DANIEL T. HENDRIX, :               MOTION FOR CLASS CERTIFICATION
JAY D. GOULD, BRUCE A. HAUSMANN :
and PATRICK C. LYNCH,                     :
                                          :
                              Defendants.
                                          :
                                          x
       WHEREAS, by Order dated September 28, 2022, the Court adopted the parties’ Joint

Proposed Case Management Plan (ECF No. 52) which provides, inter alia, that Lead Plaintiff’s

Motion for Class Certification (the “Class Motion”) shall be filed on or before December 1, 2022;

Defendants’ opposition to the Class Motion shall be filed on or before February 1, 2023; and Lead

Plaintiff’s reply in further support of the Class Motion shall be filed on or before March 20, 2023;

       WHEREAS, Defendants intend to file a motion to compel (the “Motion to Compel”)

against both Lead Plaintiff and Lead Plaintiff’s investment advisor, non-party Chartwell

Investment Partners, that concerns documents that may be relevant to the Class Motion, and will

likely delay Defendants’ ability to file their opposition consistent with the current schedule; and

       WHEREAS, Defendants’ Motion to Compel is subject to a joint pre-motion letter

requirement under this District’s Local Rules and Your Honor’s Individual Practices, with which

the parties are in the process of complying; and

       WHEREAS, the parties have conferred and agreed that, subject to approval of the Court,

the briefing schedule on the Class Motion should be modified as follows:

       1.      The Class Motion shall be filed on or before January 12, 2023;
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       2.      Defendants’ opposition to the Class Motion shall be filed by the later of: (i) sixty

(60) days after the filing of the Class Motion; (ii) if the Motion to Compel is granted in whole or

in part, forty-five (45) days after Defendants’ receipt of all of the compelled discovery; or

(iii) thirty (30) days after an order denying the Motion to Compel in full;

       3.      Lead Plaintiff’s reply in further support of the Class Motion shall be filed no later

than 45 days after Defendants’ opposition to the Class Motion is filed.

       This stipulation may be signed in counterparts, and the signature pages may be exchanged

via PDF and email.

 DATED: November 30, 2022                     Respectfully submitted,

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                                              GARRISON LLP

                                                              /s/ Harris Fischman
                                                             HARRIS FISCHMAN

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                                                            /s/ David Long-Daniels
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                                   Counsel for Lead Plaintiff

    IT IS SO ORDERED.               Digitally signed by Brian
        Brooklyn, NY
DATED: _________________________
        Nov. 30, 2022
                                    M. Cogan
                                   ____________________________________
                                   THE HONORABLE BRIAN M. COGAN
                                   UNITED STATES DISTRICT JUDGE




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